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 8                   UNITED STATES DISTRICT COURT
 9                  CENTRAL DISTRICT OF CALIFORNIA
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11   UNITED STATES OF                            ) Case No. SA CR 06-0058-DOC
     AMERICA,                                    )
12                                               )
                               Plaintiff,        ) ORDER OF DETENTION
13                                               )
                    vs.                          )
14                                               )
     JEREMY ADAM DIGBY,                          )
15                                               )
                               Defendant.        )
16
17                                                   I
18       A.    ()         On motion by the Government/ ( ) on Court’s own motion, in a
19       case allegedly involving:
20             1.         ()       a serious risk that the defendant will flee.
21             2.         ()       a serious risk that the defendant will:
22                        a.       ()       obstruct or attempt to obstruct justice.
23                        b.       ()       threaten, injure or intimidate a prospective witness or
24                        juror, or attempt to do so.
25             3.         (X)       a violation of supervised release.
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 1                                            II
 2       A.    ()     The Court finds that no condition or combination of conditions
 3       will reasonably assure:
 4             1.     ()       the appearance of the defendant as required.
 5             ( ) and/or
 6             2.     ()       the safety of any person or the community.
 7       B.   ( X)    Defendant has not established by clear and convincing evidence
 8       to the contrary that he does not pose a risk of flight or danger to the community
 9       as provided in 18 U.S.C. § 3143 (a).
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12                                         III
13       The Court has considered:
14       A.    the nature and circumstances of the offense(s) charged, including
15       whether the offense is a crime of violence, a Federal crime of terrorism, or
16       involves a minor victim or a controlled substance, firearm, explosive, or
17       destructive device;
18       B.    the weight of evidence against the defendant;
19       C.    the history and characteristics of the defendant; and
20       D.    the nature and seriousness of the danger to any person or the community.
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22                                           IV
23             The Court bases the foregoing finding(s) on the following:
24       A.    ()     As to flight risk:
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26       B.    ()     As to danger:
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 1                                          VI
 2       A.       IT IS THEREFORE ORDERED that the defendant be detained prior to
 3       trial.
 4       B.       IT IS FURTHER ORDERED that the defendant be committed to the
 5       custody of the Attorney General for confinement in a corrections facility
 6       separate, to the extent practicable, from persons awaiting or serving sentences
 7       or being held in custody pending appeal.
 8       C.       IT IS FURTHER ORDERED that the defendant be afforded reasonable
 9       opportunity for private consultation with counsel.
10       D.       IT IS FURTHER ORDERED that, on order of a Court of the United
11       States or on request of any attorney for the Government, the person in charge
12       of the corrections facility in which defendant is confined deliver the defendant
13       to a United States marshal for the purpose of an appearance in connection with
14       a court proceeding.
15
16 DATED: October 6, 2010
17                                        ___________________________________
                                          MARC L. GOLDMAN
18                                        UNITED STATES MAGISTRATE JUDGE
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